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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

NICHOLAS HEBRARD                                                                     PLAINTIFF
#10543-20

v.                               Case No. 4:20-cv-001307-KGB

MALONE, et al.                                                                   DEFENDANTS

                                            ORDER

       Plaintiff Nicholas Hebrard, an inmate at the Pulaski County Detention Center, filed a pro

se complaint on November 2, 2020 (Dkt. No. 2). On February 1, 2021, the Court denied as

incomplete Mr. Hebrard’s application to proceed in forma pauperis (Dkt. Nos. 1, 3). The February

1, 2021, Order directed Mr. Hebrard either to: (1) pay the $402.00 filing fee in full or (2) file a

properly completed application to proceed in forma pauperis within 30 days, or by Wednesday,

March 3, 2021 (Dkt. No. 3, at 1). Mr. Hebrard was advised that, if he failed to do so timely, this

case would be dismissed without prejudice. Local Rule 5.5(c)(2) of the Eastern and Western

Districts of Arkansas (“If any communication from the Court to a pro se plaintiff is not responded

to within thirty (30) days, the case may be dismissed without prejudice.”) A copy of the Court’s

February 1, 2021, Order was mailed to Mr. Hebrard at his address of record along with an in forma

pauperis application.     The letter to Mr. Hebrard, however, was returned to the Court as

undeliverable with the notation “No Longer Here” on the envelope (Dkt. No. 5). It appears Mr.

Hebrard is no longer in custody at the Pulaski County Detention Center, but he failed to update his

address with the Court.

       As of the date of this Order, Mr. Hebrard has not complied with or otherwise responded to

the Court’s Order of February 1, 2021, and the time for doing so has passed. Accordingly, this
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case is dismissed without prejudice. The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that

an in forma pauperis appeal would not be taken in good faith.

       So ordered this 9th day of December, 2022.


                                                            _____________________________
                                                            Kristine G. Baker
                                                            United States District Judge




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